141 F.3d 1180
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.United States of America, Plaintiff-Appellee,v.Juan DIAZ-CHAIRES, Defendant-Appellant.
    No. 96-10558.D.C. No. CR-96-00346-JMR.
    United States Court of Appeals,Ninth Circuit.
    .Submitted Mar. 10, 19982.Decided Mar. 19, 1998.
    
      Appeal from the United States District Court for the District of Arizona John M. Roll, District Judge, Presiding.
      Before FLETCHER, BEEZER, and LEAVY, Circuit Judges.
    
    MEMORANDUM1
    
      1
      Juan Diaz-Chaires appeals his conviction by guilty plea and sentence for conspiracy with intent to distribute marijuana and possession with intent to distribute marijuana.  Diaz-Chaires' attorney has moved to withdraw as counsel pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).  Because our independent review of the record discloses no arguable issues for review, counsel's motion to withdraw is GRANTED and the district court's judgment is
    
    
      2
      AFFIRMED.
    
    
      
        2
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.  R. 34-4
      
      
        1
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    